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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                 )
MARY LOU WALEN                                   )
                                                 )
               Plaintiff,                        )
                                                 )
       v.                                        )       Civil Action No. 15-cv-1718 (BAH)
                                                 )
UNITED STATES OF AMERICA, et al.                 )
                                                 )
               Defendants.                       )
                                                 )
                                                 )

                      DEFENDANT UNITED STATES OF AMERICA’S
                         MOTION FOR SUMMARY JUDGMENT

       Defendant, the United States of America (“United States”), by and through undersigned

counsel, respectfully moves the Court for summary judgment pursuant to Rule 56(c) of the

Federal Rules of Civil Procedure. Plaintiff’s contributory negligence operates as a complete bar

to her claim under the law of the District of Columbia as a matter of law. Alternatively,

Plaintiff’s claims require competent expert testimony to establish the elements of the United

States’ alleged negligence—and Plaintiff’s expert report fails to competently establish United

States’ of any breach of any duty of care.           For these reasons, further detailed in the

accompanying Statement of Material Facts Not in Dispute and Memorandum of Points and

Authorities, Plaintiff’s claims against United States should be dismissed.
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Dated: November 20, 2018
Washington, DC
                           Respectfully submitted,

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                           United States Attorney

                           DANIEL F. VAN HORN, D.C. Bar #924092
                           Chief, Civil Division

                           By:            /s/
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